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    EXHIBIT 2
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From:                     Daniel Koffmann
To:                       Wade, Lance
Subject:                  RE: Dr. Rosendorff
Date:                     Tuesday, August 9, 2022 3:19:47 PM


Hi Lance – thanks for the heads-up. I've spoken to Dr. Rosendorff and there's no need for you to
return the call.
Best
Dan
Daniel Koffmann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP


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-----Original Message-----
From: Wade, Lance <LWade@wc.com>
Sent: Tuesday, August 9, 2022 10:37 AM
To: Daniel Koffmann <danielkoffmann@quinnemanuel.com>
Subject: Dr. Rosendorff
[EXTERNAL EMAIL from lwade@wc.com]
Dan,
I got a voice message from Dr. Rosendorff last evening. I am more than happy to return his call, but
wanted to confirm that you are comfortable with me doing so. Please advise.
Many thanks.
—Lance Wade
________________________________
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